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EXHIBIT 3
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2017

ANNUAL
REPORT

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The International Trademark Association (INTA) is

the global association of trademark owners and
professionals dedicated to supporting trademarks

and related intellectual property in order to protect
consumers and to promote fair and effective commerce.

 

 

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INTA’S OFFICES

 
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OUR LEADERSHIP

In 2017, the International Trademark Association (INTA) catapulted forward in our depth and breadth,

expanding our geographic reach, our substantive scope, and our communications.

We ended the year strong, with a solid financial footing, an
increased membership base that collectively contributes almost
US $123 trillion to global gross domestic product annually, additional
international offices, a record-breaking Annual Meeting, and a
broadening of our educational programming and advocacy—in both
issues and regions—to respond to a transformative professional
environment and a rapidly changing global landscape.

For INTA, it was a pivotal year—one in which we wrapped up the 2014-2017 Strategic Plan, with
accomplishments in all key areas, including protection of trademarks, communications, international
expansion, and member satisfaction. The Board of Directors also approved our future direction, in the

form of the 2018-2021 Strategic Plan.

This 2017 Annual Report underscores the Association's significant operational milestones, policy
achievements, long-standing and new resources, and other events and initiatives that marked this
year. We present interviews with representatives of our regional offices to provide an inside look at
INTA around the world. Moreover, peppered throughout are highlights of the work of some of the
Association's committees; this snapshot represents a mere fraction of the full picture of the overall

and impressive—activities undertaken by our member volunteers.
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There is no doubt that INTA’s progress derives from the people behind our organization: our staff, our
Board of Directors, and our members who actively participate in an increasing number of committees,
subcommittees, project teams, and special task forces. These are the people who strategize, frame,
and act on myriad issues around the world—and accelerate our impact. Their collective expertise
along with INTA’s collaborations and interactions with industry organizations, government officials,
and other stakeholders have helped ensure that INTA optimally serves our members and protects

brand owners and the public.

As we look back at 2017, we also are energized to look ahead to
the future. We hope that you share this excitement—and engage
with INTA!

  

JOSEPH FERRETTI ETIENNE SANZ DE ACEDO TISH L. BERARD

2017 President CEO 2018 President

 
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GLOBAL FOOTPRINT | Our Reach: Membership (As of december 31, 2017)

     
   
   
 

2017 TOTAL MEMBERS* REPRESENT
tl ade 31,000+ From LOA
PROFESSIONALS COUNTRIES
0 eT wmayas
*Corporate, associate, government, emeritus, and
INCLUDING 1,131 academic members; represents individuals
OO) Od Vem Vals] ents and organizations

2016-2017
Membership Growth

91% reTENTION RATE

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% MEMBERS
MEMBERSHIP BY REGION:

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Eqropes EGrOpe an UMW sassscssccccssisisiciesessssivavsvisicsinanassetacineiaiawnee
EUPOBGS NOR EMODOON UNION ccccsienvicssesicsraranivnreremmarnnanncaucane
Europe: Russia & Commonwealth of Independent States.................0.. 125
Latin America & the Caribbe@an..........ssssssssssssscssssssssescssssessesessesesesees 821
Middle East & North Africa............ccccccccscssssssssssssssssscssssssevsssessssessesasseees 327
North America (United States and Canada).............ssssseeeeeee 2,499
UEINIRSIRE cesccsoesiscxsessnsa508in ss entcesnotemenmmeenenerrenvomnnatennvenerasnausneesnnenares gage
SAD DORG ANOS esesecccccscssnscxevenesznccnassnsacaseeainsiiiasiiaiiaseavissasianasiiaarsones 183
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Today, INTA has 7,246 members, representing more than
31,000 trademark professionals from 191 countries.

In addition to our headquarters in New York. New York, the Association
has offices in Brussels, Belgium; Santiago, Chile; Shanghai, China:
Singapore, Southeast Asia; and Washington, D.C,. as well as
representatives in Geneva, Switzerland, and New Delhi. India.

and a representative for Africa and the Middle East.

With a significant portion of INTA’s membership
grounded in Europe and North America and
already supported by well-established offices.
much of our focus in 2017 was on Africa, Asia-
Pacific, Latin America, and the Middle East. The
Assaciation’s notable membership growth in
these four regions made them natural areas tor
an increased presence. In addition, their overall
business climates, including robust economic
growth, rising consumer classes, and emerging
hubs of innovation, have presented myriad new
opportunities for brand owners based in these
regions and in other parts of the world.

Adding New Representatives
4s part of this global growth. in May, INTA officially

 

opened the Latin America and the Caribbean
Representative Office in Santiago, Chile—the
sixth permanent INTA office worldwide.* The
Association selected Santiago after extensive
due diligence. A significant number of high-level
international organizations have workplaces in
the city, making the INTA Representative Office
well positioned to serve members throughout the
region.

Overall, INTA was drawn to Latin America because
of the region's growth potential. Comprising
approximately 7 percent of the world $ grass
domestic product (GDP) and with a prospective
600 million consumers (2016), Latin America has
become an increasingly important contributor
to the global economy and one of the most
interesting developing regions for brands seeking

expansion. Trademark-intensive industries are
contributing significantly to the local econamies,
generating jobs and contributing to GDP.

Caribbean
Representative Office is supporting the trajectory
of Latin America’s economic growth through the
promotion of brands within regional communities
and the advancement of strong and efficient
national trademark laws that support local

The Latin America and the

industry and increased foreign investment.
Following the official opening of the new office,
through year-end, INTA organized or participated
in 15 events across Latin America, greatly
enhancing the Association's visibility and reach.

Also in May, INTA contracted with a Representative
for Africa and the Middle East. Since then, we
have increased our presence in these two key
regions via high-level delegations, workshops,
and direct engagement with local members.

In Africa, significant economic growth and
increased investment in infrastructure have
resulted in a greater need to acknowledge the
role and importance of IP on the continent. These
jactors represent a great opportunity for brand
owners outside the region that are looking to
expand their businesses into African markets.
The unique challenges presented by widely
varying regional and local legal frameworks and
still-developing infrastructures make it essential
that both foreign and local brand owners
be knowledgeable and well informed before
finalizing their IP and market strategies. INTA’s

 
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HIGHLIGHTS:

Enforcement Committee (2016-2017 committee Term)

 

The Enforcement Committee develops and advocates the Association's
policy regarding the timely and effective enforcement of trademarks

and business identifiers.

© Held three Judges Workshops—in Costa Rica, Ecuador, and Paraguay—to advance knowledge

of trademark law and procedure

© Drafted a Board resolution on INTA’s position on the Hague Convention on Recognition
and Enforcement of Judgments and submitted intervention to the Special Commission

in The Hague in support of a draft Convention

increased presence and engagement in Africa
have been helping to fill that knowledge gap.

Given the potential for expansion and increased
visibility in the Middle East, the Association
selected this region for our first-ever membership
roadshow. INTA staff and local members traveled
to Doha, Qatar, and the United Arab Emirates
(UAE). This was undertaken in September in
conjunction with a Free Trade Zone (FTZ) workshop
hosted by INTA in Dubai, UAE. As a result of this
campaign, which led to the enrollment of several
new corporate members, and the success of the
FIZ workshop, INTA decided to return to Dubai for
a region-focused conference in November 2018.

Fostering Relationships

In the Asia-Pacific region, March marked the one-
year anniversary of the opening of INTA’s office in
Singapore, Southeast Asia. The office covers 30
countries outside of Mainland China. INTA gained
notable momentum through numerous activities,

 

including those related to policy and advocacy. In
its first year of operation, the office participated
in 29 official engagements with governments.
These included several delegations led by 2017
INTA President Joseph Ferretti, policy dialogues,

and attendance at government-hosted events.

lt has become increasingly important to have a
presence in this region since the Association of
Southeast Asian Nations (ASEAN) established
the ASEAN Economic Community (AEC) in 2015.
With a combined GDP of US $2.6 trillion and
more than 622 million consumers (2016), the
AEC, which has resulted from the economic
integration of ASEAN's 10 members (Brunei,
Cambodia, Indonesia, Laos, Malaysia, Myanmar,
Philippines, Singapore, Thailand, and Vietnam).
presents huge opportunities for brand owners
across the region and globally. On the other hand.
the establishment of the AEC also presents its
members with a number of challenges, including
many relating to IP and cross-border trade.

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In February, the ASEAN Working Group on
IP Cooperation invited INTA to address. its
52nd Meeting in Vientiane, Laos—the first
meeting since the publication of the ASEAN IPR
Action Plan 2016-2025. INTA’s presentation
focused on the 19-item Action Plan, emphasizing
the need to look for areas of cooperation.
especially with respect to enforcement and
support of the local IP community.

Maintaining this momentum, in August, INTA held
a policy dialogue in Banda Seri Begawan, Brunei,
with government representatives of the country
on best practices for trademark enforcement.
With this dialogue—the first event organized by
INTA in Brunei—the Association is now active in
all 10 ASEAN countries, engaging government,
industry, and the public on trademarks through

education, training. and advocacy.

In another historic event, which occurred toward
the end of the year, INTA led a delegation of staff
and members to Dili, Timor-Leste. This was the
first time an international organization facilitated
a government-industry dialogue on trademark
law in this Southeast Asian nation, which
does not have a trademark law and protects
marks through a system of cautionary notice
publications. INTA has begun working with Timor-
Leste officials to draft a trademark law and to

improve the IP rights enforcement environment.

Through the Association's office in Shanghai,
China, INTA also continued to develop productive
relations with the government, other associations,
brands, and INTA’s growing membership in
China, In 2017, the global business community
focused much of its attention on China and the
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LATIN AMERICA AND THE CARIBBEAN
INTERVIEW WITH: José Luis Londofo

Chief Representative Officer

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opening of the Latin America

and the Caribbean Repre-
sentative Office, in Santiago,
LCM Meee UL
significance of this office for
INTA members in the region?

 

At our members
feel that INIA is more
accessible to them from a holistic
point of view. Thus, they are more
encouraged to collaborate in
achieving the Association's goals
according to our strategic plan,

Having a closer geographical,
linguistic, and cultural proximity to
our members enables us to better
understand the needs of current
members, opens up opportunities
to attract new members, and
allows us to further contribute to
the Association's commitment to
integration and cooperation in
Latin America (LATAM).

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between 2016 and 2017?

 

A: believe — several
factors have caused this
substantial increase. The first one is
that IP has gained more relevance
within law firms in LATAM, and these
firms have been expanding. their
IP and trademark departments.
This has been occurring because
the number of companies and
entrepreneurs here has been rising:
consumers are becoming more
demanding as the middle class
grows; and trademark applications
have increased — dramatically.
Second, there are more specialized
IP attorneys in the region, as new
practitioners find this subject
appealing because of its close
relation with innovation.

In addition, our participation
in several events — organized
by allied associations and the
training sessions we have held
for trademark and IP examiners,
customs officials, and the judiciary
throughout the region have further
increased our visibility.

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government officials in 2017,
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their biggest concems related
to trademarks and other IP?

 

A main concern to our
members right now is the
brand restriction regulations taking
place in different jurisdictions, and

the uncertainty such regulations
create for all trademark owners.

In addition, counterfeiting is a
critical issue in LATAM. We have
seen major improvements in some
jurisdictions, highly committed
officers and entities, and beautiful
examples of cooperation between
different national and international
institutions to deter illicit trade.
Government officials have been
focused on updating laws and
procedures to offer better-quality
services and meet international
standards and best practices. We
have witnessed how active they are
in implementing new procedures,
IT solutions, training, etc., to keep
up with the best offices in the
world. However. there is still a lot
to be done.

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~ events in 2017 were

most noteworthy?

 

A Changing Landscape
of Latin America conference,
which took place in Cartagena,
Colombia in October, was definitely
one of our greatest achievements
in 2017. It was our grand debut in
the region. With noteworthy topics
and speakers, the conference
resulted in a great academic
forum and a wonderful venue for
networking. It also showcased
Latin America’s vast number of
high-quality companies, which are
already competing globally with
outstanding success.

Our counterfeit-related — training
sessions were alsa timely. These
included a — post-conference
workshop for free trade zone
(FIZ) authorities, government
officials, and other stakeholders
that explored the ongoing threat
of counterfeiting in FIZs, and a
regional customs training workshop
at the Chamber of Commerce and
Industry in Qranjestad, Aruba.
led by INTA’s Anticounterfeiting
Committee-Latin America and
Caribbean Subcommittee. These
types of events are fulfilling our
priorities to serve as an educational
source and to establish working
relationships with national and
regional IP offices and associations.

 
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ASIA-PACIFIC AND CHINA

INTERVIEW WITH: Seth Hays

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of operation, since opening
in Singapore in March 2016?

 

Our main focus was to

firmly establish — INTA’s
footprint in the Asia-Pacific (APAC)
region. The region's sheer size,
which ranges from Mongolia
in the north to Australia in the
south, and its cultural and
political diversity, call for a varied
set of objectives, activities, and
priorities on a country-by-country
basis. Despite these challenges,
we have successfully raised the
Association's profile through
increased advocacy efforts and
events across the region.

Marking one area of uppermost
importance in 2017, we worked
on countering legislative initiatives
on brand restrictions. INTA
submitted letters to government
officials in Thailand, Hong Kong,
and Taiwan on plain packaging
and brand restrictions for tobacco
and alcohol products, and we
monitored proposed legislation in
Nepal for brand restrictions and
oversized graphic health warnings
on alcoholic beverages.

The trade in counterfeit goods
is another one of our leading
policy priorities—and 2017 was
a year of milestones for us with

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Chief Representative Officer

regard to this. We organized the
first’ policy dialogue between
international brands and local
e-commerce platforms in Indonesia
regarding the sale of counterfeits
online, including sharing best
practices developed by INTA’s
Anticounterfeiting Committee. We
also hosted the first government:
industry dialogue on enforcement
of trademark fights in Brunei
following the country’s initial raids
against trademark counterfeiters. In
addition, we successfully advocated
against regulatory proposals by
Singapore Customs, which would
have eased the transshipment of
counterfeit goods.

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A China, iNTA members
worked closely with the
China Trade Mark Office (CTMO) and
representatives from governments

outside China, namely the U.S.
Patent and Trademark Office and

the EU Intellectual Property Office,
on preventing bad-faith registration
of trademarks. These — efforts
included participating in a series
of working-level discussions that
resulted in policy changes at CTMO.

Anticounterfeiting remains at the
top of INTA’s priorities in China as
well as elsewhere in the world. This
is a critical topic here—one that is
much talked about, and there is
progress being made in awareness
and enforcement.

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counterfeiting issue there?

 

In 2017, INTA leveraged

China's Belt and Road
Initiative for global economic
cooperation to address the
increasing trade in counterfeit
goods al a groundbreaking panel at
the China Trademark Association's
Irademark Festival in September,

INTA also collaborated — with
the Administration of Quality
Supervision, Inspection — and
Quarantine’s National E-Commerce
Monitoring Center to organize a
high-level summit in Hangzhou in
September for Chinese government
officials and local and international
brand owners on the sale of
counterfeit goods online.

Br ae aitcsce
einer
in membership, gaining 60
total members between 2016

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corporate membership alone
by more than 20 percent.
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A For one, having a physical
presence in both Singapore
and Shanghai has allowed us to
further engage brand owners and

provide services in a tailored and
localized fashion.

The INTA name has also become
more visible as a result of an
upsurge in activities at both
offices. In 2017, compared with
2016, we organized 34 of our own
events—up 143 percent; engaged
with government officials = 48
times through delegations, policy
dialogues, and the like-up 85
percent; and participated in 25
third-party events—up 39 percent.

All of this adds value for existing
members and draws new ones
to the Association. Hopefully, this
growth curve will continue in the
future.
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HIGHLIGHTS:

Alternative Dispute Resolution Committee (2016-2017 committee Term)

 

The Alternative Dispute Resolution (ADR) Committee promotes the
worldwide use of ADR, including use of the Panel of Trademark
Mediators, as a cost-effective method of resolving trademark disputes.

© Partnered with three organizations—the Hong Kong International Arbitration Centre, IPR
Mediation-Paraguay, and the Brazilian Association of Intellectual Property

© Held roundtables to increase awareness of ADR in new jurisdictions—Beijing and Nigeria

government's One Belt and One Road Initiative,
which promotes connectivity and cooperation
between Eurasian countries.

INTA homed in on this hot topic during our
participation in the China Trademark Association's
2017 China Trademark Festival, held in Guilin,
China, in September. Convening specialists from
across the Belt and Road countries in Africa,
Asia, and Europe, the Association organized an
education panel that focused on the complexity
of cross-border trademark enforcement. Mr.
Ferretti, who led INTA’s delegation at the festival,
opened the session by emphasizing the important
role that trademarks play in the economy—and
should play in economic development.

As a result of this initiative, as investment
increases across the region, the Association
will continue to advocate for cross-border
enforcement to protect brands in the future.

Hosting Activities Worldwide
Within INTA’s 2014-2017 Strategic Plan, the
objective of international expansion is coupled

 

with the strategic direction of enhanced member
satisfaction. In 2017, INTA members played a
critical role in the Association's global policy

and advocacy activities. Joining Mr. Ferretti, INTA
CEO Etienne Sanz de Acedo, or staff from the
Representative Offices, members represented
the Association on more than 25 official
delegations and in policy dialogues around the
world—effectively shaping trademark policy on a
global scale.

To support our global membership through

world-class educational programming and
optimal networking opportunities. INTA has been
continuing efforts to hast educational events in
new locations. As an example, in 2014, following
the successful Hong Kong Annual Meeting, the
Association's Board of Directors approved a
rotation strategy for our Annual Meeting that will
take the event to a location outside the United

States every third year. As 2017 was a “third

Expanding Our Legal Resources

INTA has seven searchable practice guides available
online, In 2017, members from 158 countries
accessed these resources.

Our most popular searchable guide, Country Guides:
Essential information on Trademark Protection
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PrN U LUM HER Gola t -ae CM yin ts]ee Tt a UT
Buide covers 109 jurisdictions.

 

year, INTA scouted sites throughout Europe for
the 139th Annual Meeting in May.

Following a site selection process like those
undertaken for all of the Association's Annual
Meetings, INTA ultimately selected Barcelona,
Spain, as the host city. Our extensive analysis
considered a broad range of factors, including
member experience and satisfaction; sufficient
facilities to hast a meeting of this size: budgetary
issues; and the IP and political environment. As
it turned out, the 2017 Annual Meeting—INTA’s
fourth outside North America and third in
Europe—drew the largest and most diverse crowd
in INTA history. More than 10,600 IP professionals
from 155 countries were in attendance.

While the 2014-2017 Strategic Plan has
concluded, INTA’s international expansion will
continue well into the future, as we work to
provide more opportunities for members to
engage, learn, and do business; to deepen
relations with government agencies, trademark
offices, and other associations; and to advance
trademark law worldwide.

* The Asia-Pacific Representative Office, INTA’s

fifth permanent office, was opened in Singapore
in 2016,

 
EXPANDING OUR
SUBSTANTIVE
SCOPE

 
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With INTA’s growing international membership now spanning 191 countries, just some of the external forces driving this change. Trademark professionals
the needs of our members are, understandably, not only increasing, but also must widen their lens beyond traditional trademark issues—to also be

 

he global intellectual property {!P) industry

 

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to evolve.

 

copyright laws. They must keep abr of international IP developments
and legislation and free trade agreements. Furthermore, in-house corporate
Advances in technology, the intensifying pressure from consumers on brands counsel are increasingly finding the need to demonstrate their value to

for corporate social responsibility (CSR), and increased globalization are CO

 

 
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GLOBAL FOOTPRINT | Our Reach: Events (As of December 31, 2017)

121° 15,236

  
   
  
 
  
 

EVENTS ATTENDEES
Most-Attended IN 14 FROM 146
COUNTRIES COUNTRIES
becca)
Brands and Fashion *Includes meetings, conferences, workshops,
March 22-23, 2017 seminars, and roundtables

New York, New York
369 attendees
from 49 countries

Most-Attended
Meeting
139th Annual Meeting
May 20-24, 2017
Barcelona, Spain

10,642 attendees

from 155 countries

EVENT LOCATIONS:
Largest ever!

Africa: Nigeria
Asia: China, India, Korea, Malaysia, Singapore
Europe: Germany, Italy, Netherlands, Spain, United Kingdom
Latin America: Colombia
Middle East: United Arab Emirates
North America: United States
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In response to this shifting landscape, INTA
is also evolving, and doing so purposefully. In
addition to enlarging our geographic reach, the
Association has been expanding our substantive
scope. Today. our agenda encompasses a broader
range of issues, including those that universally
affect members and those that require targeted

advocacy in specific areas of the world.

In 2017, INTA remained focused on our core

policy priorities: anticounterfeiting, Internet
governance and expansion, brand restrictions,
and trademark law harmonization. However,
we also took on a number of related rights,
including designs, geographical indications
(Gls), indigenous rights, and the intersection
of copyrights and trademarks, as well as global
developments that could have potentially serious
consequences with regard to brands, such as the
United Kingdom's withdrawal from the European

Union (Brexit).

The Association's sizable—and
growing—agenda is evident in much of the work
addressed by INTA’s committees. For the 2016-

2017 committee term, we expanded our number

continually

of committees from 29 to 37.

Several committees were created in part to

tackle certain substantive gaps, including
data protection, designs, and copyrights. Other
new committees were established to examine

emerging technologies, such as 3D printing and

artificial intelligence, to determine their impact
on brands and consumers. This expansion also
provides more opportunities for members. to
volunteer, to contribute to the success of INTA, to

network, and to further their careers.

In 2017, in initiatives led by committees. INTA
passed six policy-related Board resolutions;
presented 29 testimonies and submissions ta 12
governments and organizations in jurisdictions
around the world: and

published seven

substantive reports and three impact studies.

Adopting Official Positions

In 2017, three of the six policy resolutions

 

adopted by INTA’s Board of Directors were
proposed by newly established committees
and have helped the Association expand our

substantive scope into related rights.

The first was the resolution for Copyright
Protection for Trademarked Material proposed by
the Copyright Committee. Passed in September
by the Board at its meeting in Brussels, Belgium,
the resolution affirms that whether an original
creative work of art, such as a logo, also acts a5 a
source-identifier worthy of trademark protection,
should not hinder the ability of the artwork to
receive copyright protection.

A second resolution on copyrights, Copyright
Registration as a Precondition of Infringement

Suit, was also proposed by the Copyright

(ESSER EE ep OY
Committee and approved by the Board in
November at its meeting in Washington, D.C.
lt recommends that U.S. courts should allow
a copyright claimant to file and prosecute a
copyright infringement suit upon submitting an
application, deposit, and fee to the Copyright
Office (i.e., the “application approach”) without
awaiting the issuance of a registration certificate.

The third resolution was proposed by the
Designs Committee and was also adopted by
the Board in November. It establishes model
design law guidelines to clearly articulate INTA’s
recommendation for minimum standards. for
design laws and to serve as a baseline standard
by which the Association will be able to analyze
or comment on national and regional design laws

and regulations as the need arises.

The other three resalutions passed in 2017
cover the Dependency Period of International
Trademark Registrations under Madrid Protocol:
an Amendment of the Lanham Act to Include a
Rebuttable Presumption of Irreparable Harm;
and the Hague Convention on Recognition and
Enforcement of Judgments.

Weighing In on Issues
among the 29 testimonies and

submissions in 2017, flve-presented to the

Notably,

governments of Canada, Hong Kong, Hungary,
Taiwan, and Thailand—cover brand restrictions.
As of the end of 2017, INTA had filed submissions
on this issue with governments in more than 22
jurisdictions across Africa, Asia, Europe, and the
Americas.

Expanding Our Legal Resources

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ei) [ai eM ELL OMe UR eee Aa CMa Sct
in November, to include updated profiles of each

jurisdiction and a new chapter on the history of Gls.

In 2017, INTA published fact sheets on fluid
MELE or UM ral (GUL) Teoma (amelie tare
on trademark surveys and customs recordation.

 

 
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HIGHLIGHTS:

Anticounterfeiting Committ

 

 

7 (20 16-201 7 Committee Term)

The Anticounterfeiting Committee develops and advocates
the Association's policy regarding anticounterfeiting and

enforcement issues.

© Held more than 25 policy dialogues across the globe to engage government officials

and key stakeholders

® Introduced the Pilot Customs Training Program in the fall of 2016 and held four

training sessions in 2017

Notable submissions in 2017 that go beyond
trademark law include two to the EU Intellectual
Property Office covering designs; two to the
China National People’s Congress covering draft
e-commerce and unfair competition laws; one
to the World Intellectual Property Organization
covering graphical user interface, and icon and
typeface/type font designs; and a request to the
U.S. Copyright Office for a meeting regarding logo
registration practice and guidance.

In addition, in alignment with one of the directions
of the Association's 2014-2017 Strategic Plan
INTA continued through various channels to
advance trademark protection. Among our efforts
throughout the world were the following: INTA’s
Board approved specific recommendations in
November for Brexit negotiations. In Germany,
Portugal, and Spain, we supported an improved
trademark draft law in line with implementing
the new EU Trade Marks Directive. In Ukraine
and Turkey, we advocated for more efficient
protection and enforcement of trademark rights.
In India, many of the Association's comments on
the draft Trade Mark Rules were incorporated in
the final Rules, which became effective in March.
In Latin America, INTA conducted an IP Examiners
Training Workshop hosted by the Paraguayan
National Directorate of Intellectual Property

16

(Direccion Nacional de Propiedad Intelectual).

Providing Analysis

 

Of the seven substantive reports prepared by
policy committees and published by INTA in
2017, three demonstrate the Association's

emerging areas of interest.

30 Printing: Key Legal Issues and Options
for Change, prepared by a 3D Printing Task
Force of the Designs Committee's Designs
Cammunicatians Subcommittee, summarizes
the law of direct and secondary liability under
copyright, trademark, trade dress, design. and
patent law as it relates to 3D printing. The
report recommends that brand owners and IP
associations continue to monitor developments

before advocating any changes to existing law.

INIA’s Data Protection Committee prepared two
comprehensive reports in 2017. The first relates
to the General Data Protection Regulation, set
ta go into effect on May 25, 2018, which is
expected to have wide-ranging implications
for European and non-European organizations
that collect and process data relating to the
offering of goods or services to EU data subjects
(i.e., individuals). The Committee’s second
report surveys the state of European data privacy

regulations, and, with helpful case citations.

Se TE a Se Caer aa ee
explains the complexities surrounding balancing
trademark enforcement and fundamental rights
related to data privacy.

The other four reports published in 2017 cover
protection of 2D designs; expert witnesses in
court proceedings for actions against counterfeit
well-known marks on

goods; famous and

geographical scope of protection in Latin
America; and famous and well-known marks on

dilution in Latin America.

Publishing Impact Studies

Introduced at the start of the 2016-2017
committee term, the Impact Studies Committee
commissions and coordinates research projects
and studies on behalf of the Association, and has
laid the foundation for INTA’s evolving research
arm. To date, the Committee has published four
impact studies—including three in 2017-that
have been shared with members, government
officials, other associations, and |P and

mainstream media.

Demonstrating INTA’s continued attention to
the issue of counterfeiting, in February, the
Association released The Economic /npacts
of Counterfeiting and Piracy at our
Anticounterfeiting Conference in Hong Kong.
INIA collaborated = with — the

Chamber of Commerce's Business Action to Stop

International

Counterfeiting and Piracy on this study. The study
confirmed that international trade in counterfeit
and pirated goods will continue to rise, more than
doubling from 2013 to reach an estimated
US $991 billion by 2022.

In another area of continuing interest, INTA
delved deeper into the expansion of generic top-
level domains (gTLDs) with the release in May of
the New g/LD Cost Impact Survey, a study on how
gTLDs affect enfarcement costs far IP owners. The
Study was, in part, in response to a request from
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INDIA

INTERVIEW WITH: Gauri Kumar

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Timers

A“ is currently undergoing a positive
transformation in its intellectual property

rights (IPR) management and administration.
Given this, INTA’s main focus in India right
now is to ensure that the government and the
country’s IP administration successfully fulfill
the objectives of India’s IPR policy and remove
preventable obstacles faced by brand owners
and practitioners in the efficient administration
and protection of their trademark rights.

In addition, INTA is closely watching the
development of potentially burdensome brand
restriction scenarios in order to advocate against
them should the need arise.

INTA will also be focused on providing active
volunteering opportunities to our members in
India and to our members based outside India
that have an interest in the region. This will not
only make the Association’s voice and opinion
more impactful. but it will also fortify INTA’s
position as a leading IP association in the region.

Consultant

See Elrcico ni
» the Indian government on

a children’s intellectual property
awareness campaign in 2017.
TNS USM TULL ems Ube eg

 

A Children are the future. If encouraged in
the right direction, they have the power to
bring about positive changes in their immediate
environment—and even globally. Educating
children about the significance of IP rights al an
early age will instill in them the proper respect
for IP and the importance of creativity and
innovation as contributors to economic growth,
both in India and elsewhere,

Recagnizing this, the government of India
has initiated a children’s IP awareness and
education campaign as part of the first objective
of its National IPR Policy. INTA is honored to
collaborate with this campaign for school children
through the Department of Industrial Policy and
Promotion (DIPP) and its Cell for IPR Promotion
and Management (CIPAM). The campaign was
launched in New Delhi in April, and so far, CIPAM
and INTA volunteers have taught more than
1,000 children, using resource materials that
INTA created for this notable project.

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MRM Wels lsee TURTLE
to India in 2017?

 

A the past few years, INTA has been
sending high-level delegations to
India annually to engage with IP officials and
our members, providing input on legislative

developments and collaborating on shared goals,
such as consumer protection and education.

The 2017 delegation, held in March and led by
INTA’s CEO and its President, was able to cement
the Association's existing relationships with
government departments and stakeholders with
a key role in shaping the country’s IP landscape.
The government officials we met with were very
appreciative of the regular comments submitted
by INTA. and they encouraged the Association to
continue to weigh in on various issues related
to trademarks and brands. For example, INTA
met with the Indian Customs Commissioner,
IP attaches of foreign missions, and several
Supreme Court and Delhi High Court judges.

Several significant action points emerged during
the 2017 delegation’s visit. Among them, as a
result of a discussion with DIPP on the need for
conducting an IP impact/valuation study in India,
INTA’s Impact Studies Committee submitted
a memorandum on key recommendations on
conducting an economic impact study.

The delegation also reviewed concrete outcomes
and next steps of the joint IPR awareness
initiative for children. Both sides agreed that this
collaboration opens the door to consideration of
further collaborations in the future.
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EUROPE

INTERVIEW WITH: Héléne Nicora

Chief Representative Officer

LCA Eea UTcm ECO) Teme y
monitored and informed INTA
members about IP issues

related to the United Kingdom's
referendum to exit the European
Nie

 

A“ was al the top of our mind in
2017, given that it will trigger a number
of changes for brand owners. For instance, with
the United Kingdom out of the European Union,
EU trademarks and Community designs will no
longer offer protection in the United Kingdom.
While many questions about the impact of
Brexit remain unanswered, INTA has followed
developments to ensure that our international
membership has access to the latest information
on Brexit that can affect businesses that own or
rely on intellectual property.

Toward that end, in 2017, INTA organized a
webinar, published several articles in the /V/A
Bulletin, and created a specific Brexit topic
portal on the INTA website to provide updates
on key milestones. We also published /W/AS
Brexit Brands Toolkit’ Preparing Brand Owners
for Brexit-a practical guide to help companies
identify key issues and anticipate the necessary
allocation of resources to prepare for Brexit,

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»~ what has INTA been doing
from an advocacy standpoint to
CC mele lies

 

A’ augment INTA’s pre-existing advisory
Brexit Rapid Response Group, in March
INTA established a Brexit Cross-Committees Task
Force which is charged with identifying relevant
issues and drafting the Association's policy
recommendations. The Task Force produced a
position paper that was approved by the Board
of Directors on November 7.

The paper provides concrete recommendations
for both the United Kingdom and the 27 EU
member states on intellectual property rights
(IPRs) that would be most impacted by Brexit,
namely unitary rights such as European Union Trade
Marks and Community designs; IPR enforcement,
including border measures and anticounterfeiting
actions, and geographical indications. Our core
principles for brand owners and right holders
emphasize minimal disruption of trade, minimum
costs, maximum retention of rights, and maximum
transparency and legal clarity.

In addition, the Europe office participated
in several Brexit-related meetings, including
those held by representatives of the European
Commission's Taskforce on Article 50 and the UK
Intellectual Property Office, aimed at identifying
issues and potential solutions related to
trademarks and designs. INTA’s goal is that the
outcome of the next phase of Brexit negotiations
will have as little impact as possible on IPR
holders, while securing harmonization with the
European Union as much as possible.

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key policy issues that your
office addressed in 2017?

 

A a global level, the Europe office
contributed to many of — INTA’s
submissions on draft legistation and practices,

as well as to Board resolutions on designs and
peographical indications.

In Europe, specifically, our advocacy efforts
included submitting comments to the EU
Intellectual Property Office's draft guidelines for
EU trademarks and for registered Community
designs. We also took action in support of the
Association's efforts to improve draft trademark
legislation and to combat brand restrictions and
counterfeiting. Near year-end, INTA’s proposed
amendment stressing the harmful impact of
counterfeiting on jobs and tax revenues was
included in the European Parliament's report on
digital trade strategy.

We also have been taking a much broader
view of the European landscape, assessing how
various changes may affect brand owners. In
addition to Europe's challenging and unstable
political environment, our way of doing
business, of communicating, is undergoing a
spectacular metamorphosis with the advent of
new technologies. The boom in social media, 3D
printing, and artificial intelligence is reshaping
society. The Europe office seeks to anticipate
what these changes mean in terms of both
challenges and opportunities for brands.

Raising the profile of IP in this context is not easy,
and it makes our role even more important. The
Europe office is our members’ interface with INTA
in Europe. We strive to enhance the Association's
visibility and influence here, acting as a key
contact for members, national policymakers,
and other stakeholders—always with an eye on
ensuring that the rights. of brand owners and
consumers are protected.
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HIGHLIGHTS:
Law Fir

COMMILtE!S (2016-2017 Committee Term)

The Law Firm Committee develops member benefits, services, and
programs specifically designed for law firms.

© Produced a webcast on “Practical Considerations in Improving Your Trademark

Litigation Practice”

© Created the Managing Partner Initiative, a group tasked with developing idea exchanges
on topics relevant to managing partners such as artificial intelligence, talent management,

and law firm governance

the Internet Corporation for Assigned Names
and Numbers’ (ICANN's) Competition, Consumer
Trust and Consumer Choice Review Team. Overall,
while the study results were not conclusive, they
provide an indication of trends vis-a-vis the
effects of the new gILD program on trademark
owners: registrations by brand owners were made
overwhelmingly for defensive purposes; and the
new gILD program, in effect since 2013, has
increased trademark defense costs, with Internet
monitoring and diversion actions as the largest

line Items.

Then, in September, the Association published
The Economic Contrbution of Trademark-
Intensive Industries in Indonesia, Malaysia, the
Piuippines, Singapore, and Thailand, a first
of-its-kind analysis of this region. Looking at
data from 2012 to 2015, the report found that
across trademark-intensive industries, direct
contribution to gross domestic product (GDP)
varied from 17 to 50 percent. indirect contribution
to GDP ranged from 40 to 60 percent, and
workers’ share of the workforce accounted for 13
ta 29 percent of total employment. The release
of the study coincided with the 50th anniversary
of the formation of the Association of Southeast
Asian Nations (ASEAN).

Facilitating Dialogue
INTA’s

opportunities for members and other stakeholders

 

myriad events in 2017 presented
to engage in meaningful dialogue within the
glabal trademark community, to learn from
experts, to share information and benchmark,
and to network. The educational programming
reflected our broadened substantive scope and
the evolving needs of our members and others

interested in trademarks and related IP.

In addition to INTA’s traditional meetings, namely
the Annual Meeting, the Leadership Meeting, and
the Trademark Administrators and Practitianers
Meeting, we also hosted or participated in
conferences, workshops. roundtables, and
various academic pragrams in locations around

the world on pressing and cutting-edge topics.

AL INTA’s 139th Annual Meeting, programming
spanned a broad slate of topics to reflect
multiple dynamics, including new challenges
facing the IP profession, the evolving role of
trademark practitioners, and additional topics
of interest geared toward our developing
audience of copyright and patent lawyers, brand
management professionals, and government
officials. For example. session topics covered the
interplay between Gls and trademarks; copyright

CESS ee ee eee
as a means to protect and enforce rights in
logos; data protection and security as trademark
issues; design law; and the cost-effective use
of patents. These were in addition to the more
traditional sessions covering our priority policy
Issues, brand

including anticounterfeiting,

restrictions, and the Internet.

In a similarly expanded vein. the Brands and
Fashion conference, which took place in New York
City in March, included sessions that explored
related rights. Brand Authenticity, a conference
held in the fall in Berlin, Germany, focused on
the synergies among brands, brand protection.
sustainability, integrity, and CSR.

Our annual India workshop also took a wide
view of brands, examining how in-house and
outside legal counsel have become even more
vital to upper management as more corporations
expand into India, as well as looking at how the
plobal issue of gender equality is changing the
way brands market their products.

Among other inaugural efforts in 2017 was a
series of one-day workshops titled “Free Trade
Zones: Commerce vs. Counterfeits,” which took
place in Berlin, Germany; Cartagena, Colombia;
Dubai, UAE; Hong Kong; and New York City. Also
a first, INTA hosted a panel on online brand
presence for small and emerging businesses at
the World Summit on the Information Society
Forum, a United Nations-sponsored summit on
information, which was held in June in Geneva,
Switzerland.

In support of our increasingly international
membership and in support of brands everywhere,
INTA will continue to respond to major trends
shaping the global landscape. Our goal, as part
of the IP community, is always to be ahead of the
curve, to influence change rather than react to it,
and to ensure that the positive role that IP plays
in the global economy and in the daily lives of
consumers endures into the future.

 
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EXPANDING OUR
COMMUNICATIONS

 
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In the third of the trifecta of INTA’s major areas of growth in 2017, the

(IP) community—to legislators, business leaders, nonprofit

 

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sOClaliOn CONtINUEG To enhance our CommMuNicallons—a@ response parl ations, the mainstream media, and the general public (1.e., non-IP

 

{o Our expanded PeoPrapnic reach and expanded substantive scope, aS well dudiences)
as other emerging needs
Our extended reach strongly aligns with the 2014-2017 Strategic Plan

This important objective involves both reinforcing our communications which includes calling for “an energetic program to explain the benefits that

 

with our members and others in the legal community through new types af trademarks and related forms of intellectual property bring to consumers,

outreach and stretching beyond our traditional audience—the intellectua national economies, and society at large.”

 
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GLOBAL FOOTPRINT | Our Reach: Publications (2016-2017 committee Term)

Most-Read “Defining Use in Interstate Commerce in
Features Trademark Applications” (ira sutietin, octover 1, 2016)

in 2017: “Registering Advertising Slogans as Trademarks

in the United States and Europe” (irs euricrin. apni 15 2006)

  
   
  
  
 

INTA Bulletin
The Association's 73-year-old, READERSHIP ACROSS 194 COUNTRIES
semimonthly newsletter, featuring BO 42 346

Coe eee JURISDICTIONS COVERED ISSUES ARTICLES
brand management and

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Reporter
The world’s only peer-reviewed
scholarly journal dedicated to
trademark law and related
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READERSHIP ACROSS 120+ COUNTRIES |
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ARTICLES COMMENTARIES BOOK REVIEWS — ANNUAL REVIEWS

Viost The U.S. Supreme Court twice cited The Trademark Reporter in its landmark
Notable Matal v. Tam decision in 2017, which affirmed that the ban on the registration
im 2017: of disparaging trademarks violates the First Amendment.
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Why connect with non-IP audiences? Consumers
are increasingly brand conscious. However, a lack
of knowledge of the correlation between brands
and trademarks is one of the primary reasons
why trademarks often are misunderstood by the
public. Much to the benefit of our IP stakeholders
and non-IP audiences, our messaging conveys
that trademarks protect consumers, promote
freedom of choice, enable quick and safe
purchasing decisions, fuel competition, drive
innovation, support well-paying jobs, and fuel
global economic growth.

To advance these types of communications, INTA
formed a dedicated Communications Group
as part of the Association's new committee
structure adopted for the start of the 2016-2017
committee term. The Communications Group
consists of the long-standing INTA Bulletins
Committee and Public Information Committee,
and several committees newly established
at the start of the term: the Building Bridges
Committee, the Impact Studies Committee, the
Public and Media Relations Committee, and the
Unreal Campaign Committee.

In 2017, through the activities of each of
these committees and other efforts, INIA
made significant demystifying
trademarks and communicating their value on a
broader scale.

progress in

Elevating Thought Leadership

There is no doubt that successful advocacy goes
hand in hand with effective messaging. In 2017,
the publication of three studies stemming from

 

the Impact Studies Committee afforded INTA
additional resources to back up our stances and
helped elevate INTA as a thought leader within
the global trademark community and beyond.

Recognizing the usefulness of these studies,
the Association widely disseminated them to
provide both the public and policymakers with
data that support the value of trademarks. For
example, INTA implemented a comprehensive
communications strategy to publicize the release
af the Committee's latest study, /he Ecanomic
Contribution of Trademark-lntensive industries in
Indonesia, Malaysia, the Philippines, Singapore.

and Thadaned.

With the assistance of the Asia-Pacific office, the
Association held a series of press conferences in
all five of the countnes highlighted in the regional
report, and, as a fesult, garnered coverage in
both IP and mainstream media. We also formally
announced the study in letters sent to IP offices
around the world, providing policymakers with
solid statistics to utilize when drafting legislation
and regulations. Further, we shared a concise
look at the study results in social media posts
and infographics,

Among other efforts within the Communications

Group, the Public and Media Relations
Committee—charged with alerting non-IP media
to the important role of brands, trademarks, and
related IP—made inroads to bring practical issues
to the attention of consumers, entrepreneurs. and
others. In 2017. several Committee members

drafted, submitted, and/or placed articles in

various types of publications, including one piece
on the catchy topic of whether “Black Friday” can
be trademarked.

Engaging Business Sectors

Providing an opportunity to raise the profile
another
INTA introduced the Pro Bono Trademark

of trademarks to yet sector,

Clearinghouse in July. The Pro Bono
Trademark Clearinghouse connects eligible
individuals and

nonprofit organizations — in

need of trademark legal assistance with
trademark attorneys who are looking for pro
bono opportunities to assist those in need of

professional services.

Entrepreneurs and small business owners
focused on growing their businesses often
overlook the role of trademark protection in the
early stages of business development. The same
van be said about nonprofits concentrating on
their causes. As such, the Clearinghouse presents
a unique opportunity to promote early trademark
registration and protection, and, in doing so, also
to support economic growth, innovation, and

worthy nonprofit organizations.

INTA began this new service as a two-year pilot
program in Germany and the United States, with

Expanding Our Legal Resources

The Association now offers 69 fact sheets on our
ats Con ec WAMU CR ELH eR ccloM Canc Tem CMU ElN
185,000 views.

Another one of INTA’s most widely used resources,

cL MeO me MTR OMEN om EST R sso
nearly 200,000 times this year.

 
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HIGHLIGHTS:

Brands and Innovation Committee

 

2016-2017 Committee Term)

 

The Brands and Innovation Committee examines and analyzes the
relationship between brands/trademarks and innovation, with a focus
on how brands promote innovation and drive the economy, and how
innovation impacts brands, brand owners, and trademark-related issues.

© Developed working definitions of the terms “brand” and “innovation” for better alignment with
usage by outside parties, such as the academic and governmental communities

© Prepared 130+ summaries of existing brands and innovation literature, with links to the original
materials, as a dynamic and ever-growing resource for stakeholders

plans to expand it afterward to other countries.
By year-end, 20 of the submissions we received

were approved for pro bono assistance.

Increasing Multimedia

Broadband Internet access spreading to the far
o

 

reaches of the globe presents organizations,
including INTA, with exciting opportunities to
access new audiences and share complex
information in digestible formats. To this end, the
Association has rolled out additional multimedia
content and channels, with the aim of connecting

with both IP stakeholders and the public.

In 2017, we published our first video content
in the IN7A Bulletin: The Future of IP. This five-
part video series features the heads of eight IP
offices who share their thoughts on haw society
will change over the next 5 to 10 years, how the
relationship between brands and consumers is
evolving, the future opportunities and challenges
for IP, and the future role of both IP offices and
IP associations.

INTA also unveiled =microdocumentary-style

videos. For example, to promote 7he Econamic

Impacts of Counterfeiting and Piracy study, we
produced a short educational video targeted

at non-IP audiences. The video introduces

- 24

 

the concept of counterfeiting and explains its
negative social and economic impacts. It ends
with calls to action for different constituents:
for government officials, to pramote innovation
and support legal economic growth: for business
leaders, to commit resources to IP protection:
and for consumers, to buy legitimate brands and

products.

The video has also been incorporated into

an interactive exhibit presented by INTA in

collaboration with the National Inventors
Hall of Fame (NIHF) at the NIHF Museum in
Alexandria, Virginia, Open since November, the
exhibit presents an enormous platform for INTA
to highlight counterfeiting, including its impact
on individuals and economies. Approximately
30,000 visitors are expected to see the display,

which runs through April 2019.

With members around the world engaging with
each other and the Association across a variety
of social networks, INTA has a thriving and
active online community—one that continued
to grow this year. In 2017, we made our debut
on Instagram and WeChat, and we watched
our followers multiply on our existing channels,

Facebook, LinkedIn, Twitter, and YouTube. The

Association also leveraged the latest features
on these networks, including broadcasting live
on Facebook from our Brands and Fashion
conference in New York City. the Association's
139th Annual Meeting in Barcelona, Spain, and
our Leadership Meeting in Washington, D.C.

Informing the Next Generation

This year also brought to fruition additional
efforts by INTA to spark interest in trademark
law among the next generation of professionals.
Educational and inspirational, our expanded
offerings of competitions and programs help us
find, celebrate, and reward motivated law school
Students and young practitioners. They serve
to get students excited about trademark law,
spread awareness about INTA as a go-to source
for tradernark scholarship and assistance with
career advancement, and groom newcomers
to become engaged with the Association as
members and as potential leaders of INTA in the

future.

Highlighting INTA's efforts, we have, for the past
26 years, been furthering trademark scholarship
and helping students develop their brief writing
and oral advocacy skills through the annual Sau!
Lefkowitz Moot Court Competition in the United
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AFRICA AND THE MIDDLE EAST

INTERVIEW WITH: Tat-Tienne Louembe

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_ Why is it important for INTA
em OMIT ceric Cg t) (scsi a
Africa at this time?

 

A INTA traditionally has had a strong
presence in Africa and the Middle East
through our members and various activities. The
Representative role was created in 2017 so that

a dedicated person would be assigned to this
region.

INTA is scaling up its outreach to key intellectual
property {IP} stakeholders and non-lP
professionals. INTA's expertise in the region is
sought after and appreciated by policymakers and
other industry organizations, and the Association
must be accessible to these stakeholders.

As in other regions of the world, businesses, young
entrepreneurs, consumers, and our members
in Africa and the Middle East face several
challenges in terms of IP infringements and filing,
At the same time, they have great oppartunities
for brand development and expansion. Economic
diversification is considered a hot topic here.
and IP rights can meaningfully contribute to the
economy through job creation.

Representative

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ETHIC MMe Colt ieg

 

A In 2017, INTA sent multiple delegations
to Cameroon, Ethiopia, Malawi, Nigeria,
and South Africa; organized a roadshow to

the Middle East; and held key meetings with
government officials.

In June, INTA CEO Etienne Sanz de Acedo visited
Southern Africa (Zimbabwe and South Africa) to
discuss issues of particular significance to the
region. The visit was timely and well received
by our members there, as well as by various
government officials and the African Regional
Intellectual Property Organization (ARIPO)—one
of our key partners in Africa, During the various
meetings, Mr. Sanz de Acedo urged the effective
use of trademarks and their crucial role in spurring
economic growth. The trip was also a good
opportunity for INTA to fine tune our approach to
the continent and further demonstrate our desire
to be an active participant in Africa,

In September. with the support of the Middle
East Global Advisory Council, INTA organized a
workshop, Free Trade Zones (FIZ): Commerce
vs. Courterteits, in Dubai, United Arab Emirates.
The workshop was a platform for brand owners,
FIZ authorities, government officials, and other
key stakeholders to explore concerns, share
best practices, and discover ways to combat the
ongoing threat of counterfeits in FTZs.

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A Itis very important for INTA to collaborate
with like-minded organizations in the
region to advance IP rights and strengthen
brands, and we have been making strides toward
reinforcing our relationships.

For example. in November, the Association
participated in ARIPO’s 41st Administrative
Session and 16th Ministerial Session in Lilongwe,
Malawi. In Yaoundé, Cameroon, INTA attended
the swearing-in ceremony of Denis Bohoussou as
new Director General of the African Intellectual
Property Organization (Organisation Africaine de
la Propriete Intellectuelle) for French-speaking
African nations. In Nigeria, INTA was invited by the
Intellectual Property Lawyers Association Nigeria
to support it in modernizing the IP infrastructure
and furthering the government's laudable efforts
to improve the business climate.

In addition, the Association is going beyond the
IP “usual suspects” by deepening ties with the
African Union, the United Nations Economic
Commission for Africa, the Africa Development
Bank, and various national and regional bodies.
We have yoiced our availability to work hand in
hand in the areas of trade facilitation, consumer
protection, and IP awareness. Our hope is that
these types of collaborations will benefit brand
owners, consumers, and the economy in general
in this region.

 
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WASHINGTON, D.C.
INTERVIEW WITH: Deborah Cohn

Senior Director of Government Relations

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Washington, D.C., office
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A’ 2017, INTA hosted several briefings
focused on IP protection in collaboration

with the Congressional Trademark Caucus (CTC).
The CIC plays a crucial role in outreach about
trademark issues and provides opportunities for
INTA to build strong relationships with members
of Congress and promote robust IP laws in the
United States. For example, one briefing, in
October, explored how brands enhance consumer
health and safety while simultaneously protecting
U.S. national security.

World [P Day inApril was particularly significant for
INTA, as the Association joined with other U.S. IP
organizations and several members of Congress
to stress the importance of IP. Following the
event's theme of “Innovation—Improving Lives,”
INTA 2017 President Joseph Ferretti spoke about
the value of IP to global brands and how brands
transform in response to thei customer base.

New for INTA in 2017, we collaborated with two
members of Congress to hold roundtables for
small businesses in their respective districts
in Delaware and Florida. These educational
events provided a better understanding of
trademark basics such as mark selection and
registration, and highlighted the urgency of
protecting their brands.

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In addition, INTA was honored to have the CTC
co-chairs fram the U.S. House of Representatives—
Representatives Ted Deutch of Florida and
John Ratcliffe of Texas—address our Leadership
Meeting in Washington, D.C., in November.

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The D.C. office serves as the primary

INTA liaison to the U.S. Patent and
Trademark Office (USPTO) and other federal
agencies and works closely with the USPTO,
including coordinating the — Association's
responses to all trademark requests for comment
as well as providing informal guidance.

In addition, INTA members have served and
continue to serve as a resource to the USPTO
by providing industry-focused training and other
forms of programming to educate and assist
examiners.

As an example. in October, INTA members
who were former USPTO trademark examiners
participated in a “View from the Outside”
event to help newly-hired and other examiners
understand some of the pressures involved in
prosecuting a trademark application from the
perspective of a trademark owner or attorney.

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Pa * approaches to address
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A While anticounterfeiting has always been
an important issue for the D.C. office, we

have amplified our attention to this, as data show
an increase in counterfeit goods globally in the
digital economy. Counterfeiting is eviscerating
the power of trademarks, and it presents direct
health and safety risks for consumers who
purchase these goods,

In light of this, it has become even more essential
for us to inform both policymakers and consumers
about the dangers posed by counterfeit goods.
We tackled this in various formats in 2017.

For example, in December, INTA, in collaboration
with the Global Innovation Policy Center at
the U.S. Chamber of Commerce, hosted a
congressional briefing at which government
employees and representatives from the toy and
apparel sectors discussed the rise in counterfeit
goods online and provided advice to help holiday
shoppers avoid such purchases.

In a more creative approach, INTA. in
collaboration with the National Inventors Hall
of Fame (NIHF), opened an interactive exhibit
on trademark education and counterfeiting at
the NIHF Museum at the USPTO. This exhibit
presents the first opportunity for INTA to engage
with the public in a museum environment, and
it aligns with one of the Association’s 2018-
2021 strategic directions: reinforcing consumer
trust. If you have plans to be in the Washington
metropolitan area, we hope you will consider a
visit to the NIHF Museum!
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HIGHLIGHTS:

Unreal Campaign Committee (2016-2017 committee Term)

 

The Unreal Campaign is INTA’s public awareness initiative designed
to educate students (ages 14-18) about the importance of
trademarks and the dangers of counterfeiting.

© Educated 6,300+ students through 77 events in 28 countries
© Reached 120,000 teens on social media through collaborations with online influencers

States. The competition has progressively grown
in popularity, and many of the participating
students have gone on to become trademark
practitioners and are now among INTA’s most
active members. The 2016-2017 competition
was just as popular, with 71 teams from 55 law
schools across the United States participating
in a mock courtroom experience. Ten teams
advanced to the national finals, and the
University of San Francisco (California) School of
Law was named the winning team.

Building upon the success of the U.S. event, in
2017, the Association announced a new moot
court competition in the Asia-Pacific region.
Exceeding even our own expectations, 24
teams from across the region have applied to
participate in the inaugural competition. It will
be held in Singapore in February 2018.

In addition, in an initiative spearheaded by INTA's
Young Practitioners Committee, we introduced
a new award to inspire the next generation of
trademark leaders. The “Tomorrow's Leaders
Award" recognizes outstanding performances
by two young professionals with less than five
years of experience who have demonstrated early
leadership qualities. The first two recipients—
Ana Leticia Allevato of Di Blasi, Parente &
Associados, Rio de Janeiro, Brazil, and Erica
B.E. Rogers of Ward and Smith, PA., in Raleigh,

North Carolina—received their awards during
the 201/ INTA Leadership Meeting and earned
the opportunity to serve on an INTA committee,
receive complimentary registration to the 2017
Leadership Meeting and the 2018 Annual
Meeting, and be assigned an INTA member

mentor.

A Plan for the Future

As INTA put together the final pieces to complete
our 2014-2017 Strategic Plan, much of 2017

was also spent putting the finishing touches on

 

our strategic direction for the future. Thanks to
the enormous effarts of the Planning Committee
in crafting the 2018-2021 Strategic Plan, the
Association finalized the content this year, and
the Board of Directors approved the plan at its
meeting in May.

INTA communicated the 2018-2021 Strategic
Plan and subsequent Implementation Plan to
members and other stakeholders in several ways,
including presentations by the Association's
officers and CEO at the 2017 Annual Meeting
and 2017 Leadership Meeting, video recording
of the Implementation Plan presentation posted
on our website, emails, and a press release

disseminated to IP media.

Over the next four years, INTA is set to focus
an three directions that will serve to guide our
activities and engagements: (1) Promote the

Value of Trademarks and Brands; (2) Reinforce
Consumer Trust; and (3) Embrace Innovation and
Change.

While the Association’s care mission to protect
trademarks, harmonize trademark laws, and
advocate for effective enforcement mechanisms
around the world continues, the new Strategic
Plan recognizes that the relationship between
evolved. It

emphasizes INTA’s commitment to provide safety

brands and consumers has
and security for consumers, and to promote
the important role of trademarks and brands
in the global economy as drivers of innovation
and competition for the benefit of consumers,

workers, brand owners, and society.

Over the course of the next four years, INTA’s
3,000+ talented and dedicated volunteers,
serving on INTA’s nearly 200 different committees.
subcommittees, and project teams, will work
diligently—as always—to implement the new
Strategic Plan’s directions and goals.

This new plan is bold and ambitious. It is
designed to be inclusive and forward thinking.
We accomplished what we set out to do in 2017,
thanks to the dedication and hard work of our
volunteer members and staff and the support of
the global trademark community. We are equally
poised to accomplish the goals of our new
Strategic Plan in the years to come.

 
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